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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                                                      Case No. 25-cr-164 (JMC)
         v.


 EMILY GABRIELLA SOMMER,

                        Defendant.

                                       PRETRIAL ORDER

        In order to administer the trial of this case in a manner that is fair and just to the Parties

and is consistent with the goal of completing the trial in the most efficient manner, it is hereby

        ORDERED that a pretrial conference will be held on July 25, 2025, at 2:00 PM in

Courtroom 3. It is further

        ORDERED that the trial of this case will commence on August 18, 2025, at 9:30 AM in

Courtroom 3. It is further

        ORDERED that any motions are due by July 9, 2025. Oppositions are due by July 15,

2025, and any Replies are due July 18, 2025. It is further

        ORDERED that the Government will notify Defendant of its intention to introduce any

Fed. R. of Evid. 404(b) evidence not already disclosed by July 7, 2025. It is further

        ORDERED that the Government will make its expert disclosures to Defendants by July 7,

2025, and Defendants will make their expert disclosures to the Government by July 14, 2025. It

is further

        ORDERED that the Parties’ joint pretrial statement is due by July 21, 2025. In addition

to filing the joint pretrial statement on the public docket, the Parties will submit a version of the



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statement in Microsoft Word format to Cobb_Chambers@dcd.uscourts.gov. The joint pretrial

statement will include:

           a. Written statements (i) by the Government setting forth the terms of any plea offer

               made to Defendant and the date such offer was made and lapsed; and (ii) by Defense

               Counsel indicating (1) the dates on which the terms of any plea offer were

               communicated to Defendant and rejected, see Missouri v. Frye, 566 U.S. 134, 145

               (2012) (“[D]efense counsel has the duty to communicate formal offers from the

               prosecution to accept a plea on terms and conditions that may be favorable to the

               accused.”), and (2) the potential sentencing exposure communicated by the Defense

               Counsel to Defendant and the date on which such communication occurred, see

               United States v. Rashad, 331 F.3d 908, 912 (D.C. Cir. 2003);

           b. A one-paragraph joint statement of the case for the Court to read to prospective

               jurors;

           c. Proposed voir dire questions that include:

                   i. the voir dire questions on which the Parties agree; and

                  ii. the voir dire questions on which the Parties disagree, with specific

                         objections noted below each disputed question and supporting legal

                         authority (if any);

           d. The text of proposed jury instructions, which are formatted so that each instruction

               begins on a new page, and indicating:

                   i. the instructions on which the Parties agree;

                  ii. the instructions on which the Parties disagree, with specific objections noted

                         below each disputed instruction and supporting legal authority (if any); and




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                       the proposed instruction’s source (e.g., the Red Book, Matthew Bender’s

                       Federal Jury Instructions) or, for modified or new instructions, its

                       supporting legal authority;

           e. A list of expert witnesses, accompanied by a brief description of each witness’s

               area of expertise and expected testimony, followed by specific objections (if any)

               to each witness;

           f. A list of prior convictions that the Government intends to use for impeachment or

               any other purpose, followed by specific objections (if any) to that use;

           g. Lists of exhibits that the Parties intend to use during their cases-in-chief, with a

               brief description of each exhibit, followed by specific objections (if any) to each

               exhibit;

           h. Any stipulations executed or anticipated to be executed;

           i. A proposed verdict form that includes a date and signature line for the jury

               foreperson, as well as proposed special interrogatories (if any); and

           j. A proposed schedule for the Parties’ exchange of witness lists and Jencks Act

               material, including when such lists will be provided to the Court.

       It is further ORDERED that the Parties will exchange exhibit lists, which they are required

to provide with their joint pretrial statement, by July 14, 2025. The lists will consist of all exhibits

that the Parties intend to use in their cases-in-chief. The Parties will exchange objections to the

admissibility of exhibits to the extent practicable by July 18, 2025, and will confer in an effort to

narrow the objections before filing the joint pretrial statement. The Parties shall confer to agree

upon dates for the exchange of other materials required by the joint pretrial statement (e.g., voir

dire questions and proposed jury instructions) sufficiently in advance of the filing deadline to allow




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the Parties to note any objections and confer in an effort to narrow objections. All exhibits are to

be marked in advance of trial and listed in order on the exhibit form obtained from the Courtroom

Deputy Clerk. The Parties shall provide an electronic copy of the exhibits at any point prior to the

trial date. The Court may request copies of specific exhibits prior to the pretrial conference if

necessary to resolve the Parties’ objections. It is further

       ORDERED that the Government is under a continuing and ongoing obligation to provide

Defense Counsel any favorable or exculpatory information (Brady), whether or not admissible in

evidence. Brady information must be disclosed on a rolling basis—“the duty to disclose is

ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). To the extent it has not already done

so, the Government must disclose information that may be useful for impeachment or may

otherwise affect the credibility of any Government witness (Giglio)—including Lewis material—

on or before July 21, 2025. See United States v. Celis, 608 F.3d 818, 835–36 (D.C. Cir. 2010).

Giglio obligations are also ongoing.

       SO ORDERED.



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                                                       JIA M. COBB
                                                       United States District Judge

Date: June 27, 2025




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